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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 P.J.E.S., A MINOR CHILD, by and through
 his father and NEXT FRIEND, Mario Escobar
 Francisco, on behalf of himself and others
 similarly situated,

                    Plaintiff,
                                                          Civil Docket No. 1:20-cv-02245-EGS
        v.

 PETER GAYNOR, Acting Secretary of
 Homeland Security, et al.,

                    Defendants.



                           DEFENDANTS’ NOTICE TO THE COURT
       Defendants respectfully submit this Notice to advise the Court that the Department of

Homeland Security (“DHS”) learned that certain class members in this litigation were expelled in

contravention of the Court’s preliminary injunction issued on November 18, 2020.

       1.      As the Court is aware, Plaintiff brought a putative class action on behalf of a class of

unaccompanied noncitizen children challenging an Order issued by the Centers for Disease Control

and Prevention (“CDC”) in March 2020 temporarily prohibiting the introduction into the United

States of certain aliens traveling from Mexico and Canada (“Title 42 Process”).

       2.      Upon Plaintiff’s motions for class certification and a preliminary injunction, this Court

provisionally certified a class “consisting of all unaccompanied noncitizen children who (1) are or

will be detained in U.S. government custody in the United States, and (2) are or will be subjected to

expulsion from the United States under the CDC Order Process, whether pursuant to an Order issued

by the Director of the Centers for Disease Control and Prevention under the authority granted by the

Interim Final Rule, 85 Fed. Reg. 16559-01, or the Final Rule, 85 Fed. Reg. 56,424-01.” Order at 1-

2, ECF No. 79. The Court further ordered that “Defendants, their agents, and any person acting in

concert with them are enjoined from expelling the Class Members from the United States under the

CDC Order Process, whether pursuant to an Order issued by the Director of the Centers for Disease
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Control and Prevention under the authority granted by the Interim Final Rule, 85 Fed. Reg. 16559-

01, or the Final Rule, 85 Fed. Reg. 56,424-01.” Order at 2, ECF No. 79.

       3.      Defendants previously have notified the Court that certain class members were

expelled in contravention of the Court’s preliminary injunction. ECF Nos. 89, 91. 1
       4.      Notwithstanding Defendants’ efforts as explained in the declarations attached to the

December 11, 2020 Notice, ECF Nos. 91-1, 91-2, undersigned counsel learned yesterday of four

isolated instances of further expulsions of class members that occurred on December 22, 2020,

January 7, 2021 (two expulsions), and January 11, 2021. Undersigned counsel’s understanding at

this time is that three of these minors were traveling with family members who were not their parents

or legal guardians, and that the fourth class member had identified himself to be an adult. This last

minor was re-encountered on January 1, 2021, and subsequently was reprocessed under Title 8.

Defendants will undertake immediate steps to remedy the situation in a fashion similar to that outlined

in the declarations attached to the December 11, 2020 Notice.

       5.      Undersigned counsel have informed Plaintiff’s counsel of the expulsions and have

provided Plaintiff’s counsel additional information about the class members referenced above.

       6.      Defendants deeply regret that class members were expelled contrary to the Court’s

injunction and are committed to full compliance with the Court’s injunction going forward.


Dated: January 13, 2021




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  In their December 11, 2020 Notice, Defendants notified the Court that they were aware of
“approximately 34” expulsions that were in contravention of the Court’s preliminary
injunction. ECF No. 91. Shortly thereafter, Defendants learned of a limited number of additional
such expulsions. When providing class members’ identifying information to Plaintiff’s counsel for
purposes of helping to locate class members so that those minors could be offered Title 8 processing
should they return to the United States, Defendants accounted for those additional expulsions to the
extent the class members had not already been reprocessed under Title 8.
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Respectfully submitted,


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